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 1                                                                 THE HONORABLE THOMAS O. RICE
                                                                       HEARING DATE: March 12, 2018
 2                                                                      WITHOUT ORAL ARGUMENT
                                                                                  MOVING PARTY
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10                              IN THE UNITED STATES DISTRICT COURT

11                               EASTERN DISTRICT OF WASHINGTON

12   CHRISTOPHER A. SANTAMOUR and JOHN                     Case No.: 2:17-CV-0196-TOR
     KELLY PEIGHTAL, individually and on behalf
13   of all others similarly situated,                     DECLARATION OF CRAIG J.
                                                           ACKERMANN IN SUPPORT OF
14                Plaintiffs,                              PLAINTIFFS’ UNOPPOSED MOTION FOR
                                                           PRELIMINARY APPROVAL OF CLASS
15                                                         ACTION SETTLEMENT
     v.
16                                                         Date: March 12, 2018
     UPS GROUND FREIGHT, INC., a Virginia                  Without Oral Argument
17   Corporation,

18                Defendant.

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           DECLARATION OF CRAIG J. ACKERMANN IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY
                          APPROVAL OF CLASS ACTION SETTLEMENT - CASE NO.: 2:17-CV-0196-TOR
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      Case 2:17-cv-00196-TOR          ECF No. 17      filed 02/09/18     PageID.175 Page 2 of 65




 1                             DECLARATION OF CRAIG ACKERMANN

 2     I.   INTRODUCTION

 3           1.      I am an attorney admitted to practice law in the federal and state courts of

 4   California and Texas and on July 28, 2017 I was admitted pro hac vice as co-counsel of record for

 5   the class in this case, along with our local counsel and co-counsel, India Bodien, Esq. I am over 18

 6   years of age. I have personal knowledge of the facts set forth in this declaration and if called upon

 7   to testify, could and would testify competently thereto.

 8           2.      I am a founding shareholder in the law firm of Ackermann & Tilajef, P.C. (“A&T,”

 9   “Co-Class Counsel” or “Plaintiffs’ Counsel”), attorneys of record (along with India Lin Bodien) for

10   Plaintiffs Christopher A. Santamour and John Kelly Peightal (“Plaintiffs” or “Class

11   Representatives”) and the proposed settlement class (the “Class”) in the above-captioned matter.

12   Through a contested but productive mediation, Plaintiffs and UPS Ground Freight, Inc.

13   (“Defendant”) (collectively, the “Parties”) have entered into a Settlement Agreement resolving the

14   claims of the putative class (the “Agreement”). The Agreement seeks to fully release and discharge

15   Defendant from the claims brought against it in this matter. The Agreement contemplates a non-

16   reversionary gross settlement amount of $305,834.00 (“GSA”) by Defendant to the Settlement

17   Class of approximately 126 current and former truck drivers employed by Defendant in

18   Washington, which is inclusive of individual settlement amounts to settlement class members,

19   attorneys’ fees (“Class Counsel Fees Payment”), litigation costs (“Class Counsel Litigation

20   Expenses Payment”), settlement administrative expenses, and the Class Representative Payments to

21   the named Plaintiffs, to be approved by the Court. A true and correct copy of the Settlement

22   Agreement is attached hereto as Exhibit 1. The proposed Class Notice and Share Form in

23   Settlement are attached as Exhibit A, respectively, to the Settlement Agreement. The Settlement

24   Agreement, in its entirety, is incorporated herein by reference

25           3.      Moreover, I have no knowledge of the existence of any conflicting interests

26   between my firm and any of its attorneys and our co-counsel, India Lin Bodien on the one hand,
27   and Plaintiffs or any other Class Member, on the other

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              DECLARATION OF CRAIG J. ACKERMANN IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY
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 1    II.   ATTORNEY EXPERIENCE

 2           4.      My co-counsel and I are experienced in wage-and-hour class actions. Numerous

 3   state and federal courts have certified us as adequate and competent class counsel in such class

 4   actions, including many cases involving truck drivers.

 5           5.      In 1994, I received a B.A. with honors and graduated Phi Beta Kappa from the

 6   University of Texas at Austin. In 1997, I received a J.D. from the University of Texas, School of

 7   Law. I became a member of the Bar of the State of Texas in 1997. I became a member of the Bar

 8   of the State of California in 2004.

 9           6.      Since 1997, I have exclusively practiced employment law and have amassed a

10   significant amount of experience in complex employment litigation. From 1997 through 2000, I

11   was an associate in the labor and employment law group for Jenkens & Gilchrist, P.C. (“J&G”), in

12   the firm’s Dallas, Texas office, where I represented Fortune 1000 companies, including Hartford

13   Insurance, Belo Corporation, and Alcatel, as second-chair in various employment-related matters,

14   including several class action cases. While employed by J&G, I drafted a number of summary

15   judgment motions in cases where we obtained summary judgment for the defendants, including

16   several that were reported on Westlaw.            See Wayne v. The Dallas Morning News, Inc.,

17   CIV.A.No.3-98-CV-0711-L, 1999 WL 1146840 (N.D. Tex. Nov. 24, 1999) (with lead counsel,

18   Robert E. Sheeder, Esq.); Mieritz v. Hartford Fire Insurance Co., No. Civ.A.3:99-CV-121-R, 2000

19   WL 422909 (N.D. Tex. April 17, 2000) (with lead counsel Steve Fox, Esq.).

20           7.      From 2000 through mid-2003, I worked in New York City for a plaintiffs’ side

21   employment law firm, Arenson, Ditmar & Karban, where I was involved for several years, pro hac

22   vice, in a second-chair capacity representing 150 individually-named plaintiffs in a large sexual

23   harassment case against a major Wall Street bank that was eventually resolved for $23.5 million.

24   In terms of the number of plaintiffs and the size of the ultimate settlement, this sexual harassment

25   case was the second largest sexual harassment case in U.S. history. There were over 60 depositions

26   taken and defended in that case prior to trial.
27           8.      In mid- and late-2003, I worked as an associate in the Labor and Employment Law

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 1   Section of Mitchell, Silberberg & Knupp, LLP in Los Angeles, where we represented large

 2   entertainment companies in various employment-related litigations, including several class actions.

 3           9.      From January 2004 through the present, I have been a founding and managing

 4   shareholder in the firm of Ackermann & Tilajef, P.C. where we have represented thousands of

 5   employees in wage and hour class actions, and other employment-related matters. Ackermann &

 6   Tilajef, P.C. has extensive experience in the litigation of complex cases, including numerous cases

 7   where we have represented truck drivers in class actions. For example, since 2009, we have

 8   successfully obtained class certification and been appointed as adequate class counsel in a number

 9   of cases where contested class certification motions were filed and fully briefed. See, e.g., (1) Order

10   Adopting Findings and Recommendations, Clayton v. Knight Transportation, Inc., No. 1:11cv0735

11   LJO DLB, 2012 WL 3638026 (E.D. Cal. Aug. 21, 2012) (Hon. Lawrence O’Neil) (Order adopting

12   findings and recommendations of Magistrate Beck); Findings and Recommendations Regarding

13   Plaintiff’s Motion for Class Certification, Clayton v. Knight Transportation, Inc., No. 1:11cv0735

14   LJO DLB, 2012 WL 2912395 (E.D. Cal. July 16, 2012) (U.S. Magistrate Judge Dennis L. Beck)

15   (recommending certification of class action for 2,000 truck drivers alleging claims for unpaid

16   orientation time); (2) Jack Morrison v. Knight Transportation, Inc., Tulare County Superior Court,

17   Case No. 228016, Nov. 13, 2009 Order Granting Plaintiff’s Motion for Class Certification (Hon.

18   Lloyd Hicks) (granting certification of class of over 2,000 truck drivers with claims for missed

19   meal breaks premiums); (3) Anderson v. Andrus Transportation, San Bernardino County Superior

20   Court, Case No. CIV DS 915878, August 16, 2011 Order Granting In Part Plaintiff’s Motion for

21   Class Certification (class certification granted to class of over 550 truck drivers with claims for

22   unpaid minimum wages and derivative claims); and (4) Trujillo v. Winco Foods, LLC, Stanislaus

23   County Superior Court, Case No. 622364, March 16, 2011 Order Granting Plaintiff’s Motion for

24   Class Certification (granting class certification of missed meal and rest break claims and derivative

25   claims to class of 150 truck drivers). In each of these cases, the trial court judges determined that I

26   and my firm were competent and adequate class counsel, or co-class counsel.
27           10.     Since 2004, our firm has also represented more than 250 individual employees in

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 1   cases brought under various state and federal statutes, including the California Labor Code, and we

 2   have obtained favorable results in numerous cases. In December 2012, for example, we obtained a

 3   Final Judgment in the amount of $318,913.09 in a Title VII and FEHA retaliation case after a

 4   general jury verdict for the Plaintiff and a successful appeal to the Ninth Circuit from the district

 5   court’s denial of Plaintiff’s motion for attorneys’ fees. See Final Judgment, Barrios v. Diamond

 6   Contract Services, Inc., Case No. 2:07-cv-03500-CBM-FMO (C.D. Cal. Dec. 20, 2012), ECF No.

 7   138 (final judgment entered for Plaintiff in the amount of $318,913.09); see also Barrios v.

 8   Diamond Contract Services, Inc., 461 F. App’x 571 (9th Cir. Dec. 13, 2011) (reversing original

 9   district court judge’s denial of motion for attorneys’ fees).

10           11.     In addition, from 2009 through 2012, our firm was appointed class counsel and

11   obtained final approval of numerous wage and hour class action settlements for truck drivers. See

12   e.g., Supplemental Order Granting Final Approval to Class Action Settlement, Downs v. U.S.

13   Foodservice, Inc., Case No. 3:10-cv-02163-EMC (N.D. Cal. Sept. 11, 2012), ECF No. 84 (granting

14   approval to class action settlement for 1,100 truck drivers with meal and rest break claims;

15   Memorandum Decision Re Unopposed Motion for Final Approval of Class Action Settlement

16   (Doc. 41) and For Attorneys’ Fees and Costs (Doc. 48), Bond v. Ferguson Enterprises, Inc., NO.

17   1:09-cv-1662 OWW MJS, 2011 WL 2648879 (E.D. June 30, 2011) (granting approval to class

18   settlement for 553 truck drivers); Order Re Final Approval of Class Action Settlement, Padilla v.

19   Young’s Market Company, LLC, Case No. 2:09-CV-08730 DMG (RCx) (C.D. Cal. Aug. 23, 2010),

20   ECF No. 53 (approving settlement of meal and rest break claims of 310 truck drivers); Order

21   Granting Plaintiffs’ Motion for Final Approval of Class Action Settlement, Approving Service

22   Awards to the Class Representatives, and Granting Plaintiffs’ Motion for Attorneys’ Fees and

23   Costs, Jape v. Southern Wine and Spirits of America, Inc., Case No. CV09-2599 SJO (FMOx)

24   (C.D. Cal. July 19, 2010), ECF No. 50 (granting final approval to settlement for 301 truck drivers);

25   Order Granting Plaintiffs’ Motions for: (1) Final Approval of Class Action Settlement and Award

26   of Enhancement Fee to Class Representative; and (2) Reasonable Attorneys’ Fees and
27   Reimbursement of Litigation Expenses and Costs to Class Counsel, Valladares v. The SYGMA

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 1   Network, Inc., Los Angeles County Case No. BC 406053 (April 6, 2010) (granting final approval to

 2   wage and hour settlement for class of 515 truck drivers); Order Granting Plaintiffs’ Motion for

 3   Final Approval of Class Action Settlement, Valdez v. Sysco Food Services of Los Angeles, Inc., Los

 4   Angeles County Case No. BC396372 (Feb. 1, 2010) (granting final approval to missed meal break

 5   settlement for class of 480 truck drivers); Order (1) Granting Final Approval of Class Action

 6   Settlement; (2) Awarding Payment of Class Counsel’s Attorneys’ Fees, Expenses, and Costs; and

 7   (3) Awarding Participation, Service, and Incentive Payment to Class Representative From

 8   Settlement Fund, Murray v. United Natural Foods, Inc., Placer County Sup. Court Case No.

 9   SCV21938 (Jan. 6, 2009) (granting final approval to settlement for 335 truck drivers).

10           12.    From 2012 through 2014, we represented plaintiffs in class action cases alleging

11   claims for unreimbursed mileage expenses. On September 16, 2013, in the case of Zotea v. Ross

12   Stores, Inc., Alameda County Superior Court Case No. CV11592051, the Honorable Wynne Carvill

13   appointed me as co-class counsel in conjunction with granting final approval to a settlement

14   regarding the failure to reimburse mileage expenses on behalf of a class of retail supervisory

15   employees. On November 1, 2013, in the case of Grom v. The Men’s Wearhouse, Inc., Sacramento

16   Superior Court Case No. 34-2012-00117446, the Honorable Alan G. Perkins appointed me as co-

17   class counsel in conjunction with granting final approval to a settlement regarding the failure to

18   reimburse mileage expenses on behalf of a class of retail employees. On November 20, 2013, the

19   Honorable Morris C. England, in conjunction with a Memorandum and Order granting Final

20   Approval of a class action settlement for unreimbursed mileage expenses of supervisors of Best

21   Buy LP, found that our firm was adequate class counsel in Monterrubio v. Best Buy Stores, L.P.,

22   No. 2:11-cv-03270-MCE-AC (E.D. Cal. November 20, 2013). On June 30, 2014, in conjunction

23   with the granting of final approval to a settlement regarding the failure to reimburse mileage

24   expenses on behalf of a class of 1,400 current and former Assistant Managers, Store Managers, and

25   Department Managers, the Honorable Jon S. Tigar approved me and Michael Malk as competent

26   class counsel for the putative class in the case of Boring v. Bed Bath and Beyond of California
27   LLC, Case No. 3:12-cv-05259-JST (N.D. Cal. June 30, 2014). On August 6, 2014, in conjunction

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 1   with the granting of final approval to a settlement regarding the failure to reimburse mileage

 2   expenses on behalf of a class of thousands of assistant managers, the Honorable Phyllis J. Hamilton

 3   approved me as competent class counsel for the putative class in the case of Eichelberger and

 4   Montellano v. Home Depot USA, Inc., Case No. 4:13-cv-00260PJH (N.D. Cal. Aug. 6, 2014).

 5           13.     From 2014 to 2016, our firm returned to representing truck drivers in wage and

 6   hour class action cases. Specifically, we began to file cases on behalf of truck drivers paid on a

 7   piece-rate basis who were not paid separately and hourly for rest breaks, pre- and post-trip

 8   inspection time and other non-driving time. During this time frame, our firm has been appointed

 9   competent Class counsel in more than 50 class action cases alleging piece-rate claims on behalf of

10   truck drivers in California, including the following cases: See e.g., Harris v. Toyota Logistics, Case

11   No. C1500217 (Contra Costa Sup. Ct. 2016) (finally approving a settlement of $550,000 to 76

12   drivers on February 10, 2016); Velasco v. Knight Port Services, LLC, Case No. CIVDS1513403

13   (San Bern. Sup. Ct. 2016) (finally approving a maximum settlement amount of $289,500 on May

14   12, 2016 on behalf of 228 drivers); Morrison v. Knight Transportation, Inc., Case No. VCU228016

15   (Tulare Sup. Ct. 2015) (finally approving a settlement of $3.3 million, including fees awarded over

16   $1.15 million, to a class of 4,100+ drivers on December 15, 2015). More recently, our firm has

17   successfully obtained class certification in a number of wage and hour cases where contested class

18   certification motions were filed and fully briefed. On November 13, 2009, in the case of Morrison

19   v. Knight Transportation, Inc., Tulare Superior Court Case No. 228016, the Honorable Lloyd Hicks

20   granted certification of a class of over 2,000 truck drivers with claims for missed meal breaks and

21   missed meal break premiums. On June 30, 2017, in the case of Moss, et al. v. USF Reddaway, Inc.,

22   United States District Court Central District of California Case No. ED CV15-01541 JAK (FFMx)

23   (Dkt. 43), the Honorable John A. Kronstadt granted in part Plaintiff’s motion for class certification

24   on a contested motion.

25           14.     Our co-counsel, India Lin Bodien, has represented workers in Washington since

26   2013. Since becoming a solo practitioner in 2013, she has devoted a substantial percentage of her
27   practice to litigating wage and hour violations, the bulk of these being class actions. She has served

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 1   as local counsel and co-counsel on numerous wage and hour class actions and in individual

 2   discrimination claims. She has also worked on class action matters with A&T on a contract basis. A

 3   number of these class action cases were piece-rate wage claims brought by Washington truck

 4   drivers paid on a piece-rate basis, with facts similar to this Action. I have also served as co-counsel

 5   and local counsel on a number of class action cases brought on behalf of Washington farm workers

 6   paid on a piece-rate basis.

 7           15.     Class Counsel have been appointed adequate class counsel in several recent class

 8   action cases in Washington State that were granted final approval including:

 9       •   McMakin v. Dominos, Order and Final Judgment Granting Final Approval of Class Action
             Settlement and Attorney’s Fees and Costs, Case No. 16-2-20655-7, King Co. Sup. Crt.
10           (June 2, 2017) (Judge Richard McDermott);
11       •   Eilerman, et al. v. McLane Company, Inc. DBA McLane/Northwest, Order and Final
             Judgment Granting Final Approval of Class Action Settlement and Attorney’s Fees and
12           Costs, Case No. 3:16-cv-05303, U.S. Dist. Crt., Western Dist. Wash. (May 17, 2017)
             (Judge Benjamin H. Settle);
13       •   Asplund v. White Timber Industries, Inc., Order and Final Judgment Granting Final
             Approval of Class Action Settlement and Attorney’s Fees and Costs, Case No. 16-2-
14
             00870-5, Wash. Sup. Ct. Cowlitz Cty. (September 13, 2017) (Judge Gary Bashor);
15       •   Lindholm v. Tate Transportation, Inc., Order and Final Judgement Granting Final
             Approval of Class Action Settlement and Attorney’s Fees and Costs, Case No. 17-2-
16           00013-3, Wash. Sup. Ct. Walla Walla Cty., (June 29, 2017) (Judge John W. Lohrmann);
         •   Harris, et al. v. Jerry Debriae Logging Co., Inc., Order and Final Judgment Granting Final
17           Approval of Class Action Settlement and Attorney’s Fees and Costs, Case No. 16-2-
18           00402-5, Wash. Sup. Ct. Cowlitz Cty. (June 7, 2017) (Judge Stephen M. Warning); and
         •   Ramirez v. Valley Roz Orchards, LP, Order and Final Judgment Granting Final Approval
19           of Class Action Settlement and Attorney’s Fees and Costs, Case No. 17-2-00221-39,
             Wash. Sup. Ct. Yakima Cty. (November 17, 2017) (Judge Michael McCarthy).
20
             16.     Class Counsel is also serving as counsel on a number of pending wage and hour
21
     class action matters involving piece-rate workers in various counties in Washington State
22
     including:
23
        •    Silva, et al. v. Washington Fruit Administrative Services II, Inc., et al., Case No. 17-2-
24
             00138-39 (Wash. Sup. Ct. Yakima Cty.) (co-class counsel with India Lin Bodien in a
25           putative class action on behalf of approximately 9,451 agricultural workers);
        •    Ramirez v. Gilbert Orchards, Inc., Case No. 17-2-00222-39 (Wash. Sup. Ct. Yakima Cty.)
26           (co-class counsel with India Lin Bodien in a putative class action on behalf of
             approximately 2,487 agricultural workers);
27
        •    Ramirez v. Wyckoff Farms, Incorporated, Case No. 17-2-00224-39 (Wash. Sup. Ct. Yakima
28           Cty.) (co-class counsel with India Lin Bodien in a putative class action on behalf of
                                                          8
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 1          approximately 3,812 agricultural workers);
        •   Vilchis-Bautista v. Brewster Heights Packing & Orchards LP dba Gebbers Farms, et al.,
 2          Case No. 17-2-00254-4 (Wash. Sup. Ct. Okanogan Cty.) (co-class counsel with India Lin
 3          Bodien in a putative class action on behalf of approximately 3,538 agricultural workers);
        •   Kidwell, et al. v. Haney Truck LLC, Case No. 16-2-04888-34 (Wash. Sup. Ct. Thurston
 4          Cty.) (co-class counsel with India Lin Bodien in a putative class action on behalf of
            approximately 447 truck drivers);
 5      •   Tubbs v. SAIA Motor Freight Line, LLC, Case No. 17-2-15258 KNT (Wash. Sup. Ct. Kent
            Cty.) (co-class counsel with India Lin Bodien in a putative class action on behalf of
 6
            approximately 119 truck drivers);
 7      •   Isidro v. Rowe Farms, Inc., Case No. 17-2-00137-39 (Wash. Sup. Ct. Yakima Cty.) (co-
            class counsel with India Lin Bodien in a putative class action on behalf of approximately
 8          406 agricultural workers);
        •   Perez-Hernandez v. Oasis Farms, Inc., Case No. 17-2-00749-5 (Wash. Sup. Ct. Benton
 9          Cty.) (co-class counsel with India Lin Bodien in a putative class action on behalf of
10          approximately 1,191 agricultural workers);
        •   Layton v. Heartland Express, Inc. of Iowa, et al. Case No. 17-2-0067-0 KNT (Wash. Sup.
11          Ct. King Cty. (co-class counsel with India Lin Bodien in a putative class action on behalf of
            approximately 527 truck drivers).
12
     III.   FACTUAL AND PROCEDURAL HISTORY
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             17.      The attorneys I supervise, and I, have performed substantial work and diligently
14
     investigated and prosecuted this case to a successful conclusion. Our work, in conjunction with co-
15
     counsel, resulted in the creation of a significant settlement fund for the benefit of the Class. We
16
     avoided protracted litigation by conducting considerable investigation before filing suit related to
17
     the class claims, and efficiently communicated with Defense counsel such that the parties could
18
     successfully evaluate and settle the case. Because of the risks involved in litigating this case and
19
     the contested legal and factual issues, Plaintiffs’ Counsel believe this settlement to be fair,
20
     reasonable, and adequate.
21
             18.      From Plaintiffs’ investigation and analysis of information gathered both before and
22
     after initiating this claim, including conversations with Plaintiffs, Defendant’s informal discovery
23
     production, Defendant’s Notice of Removal, and other pleadings filed in this matter, Class Counsel
24
     learned the following information:
25
                   a) Defendant UPS Ground Freight, Inc. is a Virginia corporation engaged in the
26
                      business of freight delivery worldwide, including in Washington State and the
27
                      Pacific Northwest. Defendant operates out of several terminals in Seattle, Richland,
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 1                     and Spokane, Washington.

 2                  b) All of Defendant’s piece-rate truck drivers in Washington are compensated on a

 3                     “per-mile” piece-rate compensation system.1
 4                  c) From March 12, 2014 through February 3, 2018 (“Class Period”), Defendant

 5                     employed approximately 126 per mile truck drivers in Washington State (“Class

 6                     Members”) to deliver freight.

 7                  d) During the Class Period, Defendant compensated drivers based on a per mile piece-

 8                     rate basis with some accessorial pay for certain specified things, such as customer

 9                     downtime, layover pay, and worked performed at stops among other things, but

10                     with no separate and hourly pay for rest periods as explicitly required under the

11                     Washington Supreme Court’s ruling in Demetrio v. Sakuma Bros. Farms, Inc., that

12                     was published on July 16, 2015.

13                  e) Plaintiffs and other Class Members typically worked 12-14 hours per day

14                     (including sleeper berth time) and 5 days per week, therefore they were entitled to

15                     at least two or three paid rest breaks per shift (one 10-minute rest break for each 4

16                     hours of work).

17                  f) Plaintiff has estimated The Total Piece Earnings earned by Class Members during

18                     the Class Period is approximately $11 million. Approximately $3 million earned by

19                     Washington resident, non-union drivers, and $8 million earned by Washington

20                     resident, union drivers.

21            19.      On May 12, 2017, Plaintiffs filed their class action Complaint in the Spokane

22   County Superior Court alleging causes of action for Defendant’s failure to pay hourly and separate

23   wages for time spent on statutory rest periods apart from and in addition to their piece-rate pay.

24   On June 5, 2017, Defendant filed its Notice of Removal of the action from the Spokane County

25

26   1
       As explained below, some members are part of a Collective Bargaining Agreement (“CBA”)—and their compensation
     plans are set forth in the applicable CBA—while other class members are non-union drivers. However, the compensation
27   plans for both union and non-union drivers did not provide for separate and hourly pay for piece-rate rest period time, so
     they are substantially similar if not identical with respect to the facts and the law at issue in this case.
28
                                                                  10
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 1   Superior Court to the United States District Court for the Eastern District of Washington, where

 2   the case was assigned to Chief Judge Thomas O. Rice on June 5, 2017. No motion to remand was

 3   filed and the case remains pending in federal court.

 4             20.    Plaintiffs and Defendant agreed to attend a private mediation to occur on

 5   November 9, 2017. The parties agreed to exchange informal discovery requests. On October 12,

 6   2017, after Plaintiffs’ counsel sent a request for informal discovery to Defense counsel,

 7   Defendant’s counsel provided Plaintiffs’ counsel with an initial set of responsive documents

 8   including inter alia, Plaintiffs’ personnel files; Plaintiffs’ itemized wage statements; Plaintiffs’

 9   driving logs; Defendant’s preliminary class list of non-union drivers; and Defendant’s Driver

10   Orientation Manual and Employee Reference Guide documents. On October 20, 2017,

11   Defendant’s counsel provided Plaintiffs’ counsel with a second set of response documents that

12   included an updated preliminary class list of non-union drivers; additional wage statements; a

13   randomized sample of fifteen non-union drivers’ DOT driver logs; pay charts; and the National

14   Master UPS Freight Collective Bargaining Agreement through July 31, 2018. On October 25,

15   2017, Defendant’s counsel provided Plaintiffs’ counsel with updated preliminary class list of non-

16   union drivers, a class list of all union drivers, payout charts, and pay rate charts for the Class

17   Period.

18             21.    On November 9, 2017, the parties participated in a full-day, private, arm’s-length

19   mediation in San Francisco, California with David A. Rotman serving as the neutral. Mr. Rotman

20   is an experienced class action mediator, with extensive knowledge of wage and hour laws. In

21   advance of the Mediation, the Parties each submitted detailed mediation briefs to Mr. Rotman.

22   Class Members were represented by their counsel and Class Representatives, Defendant was

23   represented by its counsel.

24             22.    After intensive arm’s-length negotiations, the parties reached a settlement in

25   general terms and reduced the terms to writing in a Memorandum of Understanding (“MOU”) that

26   was fully executed. The terms of the MOU are fully specified in the Settlement Agreement before
27   this Court.

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 1           Plaintiffs’ Allegations and Estimated Damages

 2           23.      In their Complaint, Plaintiffs alleged that Defendant failed to pay hourly and

 3   separate wages for time spent on statutory rest periods and apart from and in addition to the piece-

 4   rate pay in violation of WAC 296-126-092(4). In addition to unpaid rest break pay, Plaintiff

 5   alleged that Defendant was liable for double damages for its willful and intentional withholding of

 6   wages pursuant to RCW 49.52.050,070. Under Washington law, “[e]mployees shall be allowed a

 7   rest period of not less than 10 minutes, on the employers’ time, for each 4 hours of working time.”

 8   WAC 296-126-092(4). If an employee works more than eight hours in a day, he or she is entitled

 9   to two rest periods since “[n]o employee shall be required to work more than three hours without a

10   rest period.” Id. In Wingert v. Yellow Freight Systems, Inc., 146 Wash. 2d at 848, the Washington

11   Supreme Court held that the statutory provision, “on the employer’s time,” means that an

12   employer must compensate employees hourly and separately for their time spent taking rest

13   periods authorized under Washington Law.” In Demetrio v. Sakuma Bros. Farms, Inc., 183 Wash.

14   2d at 659, the Washington Supreme Court confirmed that an employer’s obligation to pay wages

15   for rest periods extends to piece-rate workers, obligating employers to pay piece-rate workers

16   hourly and separately apart from the piece for rest breaks under WAC 296-126-092(4). Demetrio

17   v. Sakuma Bros. Farms, Inc., 183 Wash. 2d 649, 657 (2015). Therefore, Plaintiffs alleged that

18   Defendant owed him, and other Class Members, separate and hourly pay for their statutory rest

19   breaks. Plaintiffs also alleged that Defendant is liable for double damages under RCW 49.52.0702

20   because Defendant violated 49.52.050(2)3 by willfully withholding wages. The Wingert Court

21   held that “an employer’s nonpayment of wages is willful and made with intent ‘when it is the

22   result of knowing and intentional action and not the result of a bona fide dispute as to the

23   obligation of payment.’” Id. at 849 (citing Chelan County Sheriff’s Ass’n v. Chelan County, 109

24

25   2
       “Any employer … who shall violate any of the provisions of RCW 49.52.050 (1) and (2) shall be liable in a civil action
     by the aggrieved employee … for twice the amount of the wages unlawfully rebated or withheld by way of exemplary
26   damages, together with costs of suit and a reasonable sum for attorney's fees.”
     3
       “Any employer …who…[w]illfully and with intent to deprive the employee of any part of his or her wages, shall pay
27   any employee a lower wage than the wage such employer is obligated to pay such employee by any statute, ordinance, or
     contract… Shall be guilty of a misdemeanor.”
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 1   Wash.2d 282, 300 (1987)). Plaintiffs alleged that Defendant’s failure to pay for rest breaks was

 2   knowing and intentional - at least since July 15, 2015, when the Washington Supreme Court

 3   explicitly held in Demetrio v. Sakuma Bros. Farms Inc. that piece-rate workers must be paid

 4   separately for rest breaks. Even prior to July 15, 2015, Plaintiffs argued that there was no bona

 5   fide dispute as to rest break pay because the “only reasonable interpretation” for the applicable

 6   regulation, WAC 296-131-020(2), “requires pay [for rest breaks] separate from the piece rate.”

 7   Demetrio, 183 Wash. 2d at 656.

 8            24.      Based on the information provided by Defendant, Plaintiffs estimated class wide

 9   damages as follows:

10                     a.       Defendant’s maximum exposure for unpaid rest breaks through February 3,

11   2018 is $391,838.63. Plaintiffs calculated this figure as follows:

12                           i. Defendant’s drivers were SLMP drivers (two-driver routes) and FDMP

13                              drivers (single-driver routes).

14                          ii. The Total Piece Earnings split between SLMP and FDMP through October

15                              7, 2017 is $5,297,897.64 and $5,744,668.82 respectively.

16                          iii. Plaintiffs calculated the rest break pay owed by multiplying the Total Piece

17                              Earnings by a figure of 4.35%.4

18                          iv. A review of driver logs establishes that the average ratio of driving time to

19                              sleeper berth time on SLMP routes is close to 50:50. Therefore, prior to

20                              multiplying the Total Piece Earnings for SLMP drivers, Plaintiffs took a

21                              50% discount on the Total Piece Earnings because the Parties reasoned that

22                              rest breaks aren’t required for sleep time.

23                          v. The total rest break pay owed to SLMP driver is $115,229.27

24                              ($5,297,897.64 * 50% * 4.35%).

25                          vi. The total rest break pay owed to FDMP drivers is $249,893.09

26
     4
       Plaintiffs’ use of 4.35 percent to calculate the rest break pay owed is based on the assumption that drivers worked at
27   least eight hour shifts and were therefore entitled to at least two rest breaks (480 minutes per shift, less 20 minutes in
     missed rest breaks = 460 minutes. 20 / 460 = ~4.35%).
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 1                              ($5,744,668.82 * 4.35%).

 2                         vii. The total rest break pay owed to drivers is therefore, $365,122.36. Plaintiffs

 3                              extrapolated the total rest break pay owed to drivers through January 7, 2018

 4                              at $391,838.63.5

 5                    b.        Plaintiffs   estimated     Defendant’s       liability for      double     damages      as

 6   $391,838.63. Plaintiffs simply doubled the total amount of unpaid rest breaks to arrive at the

 7   amount of double damages.

 8                    c.        Plaintiffs estimated Defendant’s interest liability at $101,878.04 calculating

 9   interest at 12% annually.

10           25.      Thus, Plaintiffs calculated Defendant’s liability for rest breaks at $391,838.63 and

11   $885,555.30 for rest breaks plus double damages and interest.

12           Defendant’s Defenses

13           26.      Following its receipt of the Complaint, Defendant denied the allegations in the

14   Complaint, and maintained that it could not be held be held liable for the reasons discussed in

15   detail below. These arguments drastically reduced Defendant’s liability in this case.

16           Legal Standard Defense

17           27.      Defendant claimed that Plaintiffs reliance on Demetrio v. Sakuma Bros, Inc., 183

18   Wn. 2d 649 (2015) is unfounded because Demetrio construed a different regulation (WAC 296-

19   131-020(2)), that pertains strictly to agricultural workers requiring employers to separately pay

20   piece rate workers for rest breaks to which they are entitled Id. at 654. While a federal district

21   court in an unpublished opinion subsequently extended Demetrio to other piece rate workers

22   whose rest periods are governed by WAC 296-126-092(4), holding that those piece rate workers

23   must be separately compensated for rest breaks. See Helde v. Knight Transportation, Inc., No.

24

25   5
       $391,838.63 is the extrapolated rest break pay owed through February 3, 2018. $391,838.63 is calculated as follows:
     Defendant’s counsel represented that its total piece earnings calculations for union and non-union drivers included May
26   12, 2014 through October 7, 2017, which is approximately a 41-month time period. $365,122.36 (rest break pay owed
     through October 7, 2017 using the 4.35% calculation of total piece earnings) divided by 41 months = $8,905.42 of rest
27   break paid owed per month. $8,905.42 multiplied by 3 additional months (the timeframe between October 7, 2017 and
     February 3, 2018) = $26,716.27. $365,122.36 + $26,716.27 = $391,838.63.
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 1   C12-0904RSL, 2016 WL 1687961, at *3-4 (W.D. Wash. April 26, 2016) (attached hereto as

 2   Exhibit 2). To date, no appellate court has confirmed the Helde decision’s reasoning or

 3   conclusion.

 4           Factual Defense

 5           28.    Defendant contended that they actively encourage drivers to take breaks and

 6   accounts for those breaks in its pay. For the non-union, truckload drivers, the Driver Orientation

 7   Manual instructs drivers to “[s]chedule a break every two hours or every 100 miles.” Furthermore,

 8   the Employee Reference Guide provides that full-time employees receive two paid 15-minute

 9   breaks each day, in addition to an unpaid meal period. The CBA applicable to union drivers

10   likewise provides for paid breaks and requires that Road Drivers “will be paid on a mileage basis

11   for miles driven and for time incidental to the performance of job driving duties, including, but not

12   limited to, any rest breaks to which they employee may be entitled…” Additionally, Defendant

13   contended that for long-distance two-person routes, drivers receive per-mile pay both for driving

14   and for non-work “sleeper berth” time. Mileage-paid non-union drivers also receive supplemental

15   “accessorial” pay for a wide variety of non-driving situations, some of which entail non-work time

16   that would qualify as a rest break under Washington law.

17           Preemption Defense

18           29.    Defendant asserted that Plaintiffs’ claims could be retroactively preempted by the

19   FAAAA of 1994, as amended. Passage of such legislation would result in the class claims being

20   wiped out entirely and the class members obtaining no recovery. Issues related to retroactive

21   preemption first appeared in the 2015 Highway bill called the Denham Amendment; however, the

22   amendment did not make it through the Senate. After the Denham amendment failed, the American

23   Trucking Association, the 50 ATA-affiliated state trucking associations, the National Private Truck

24   Council, the Truckload Carriers Association, and the Truck Renting and Leasing Association

25   placed pressure on the House Committee on Transportation and Infrastructure to include the

26   Denham language in the FAA Reauthorization bill. In addition, on May 17, 2016, the House
27   Appropriations Subcommittee on Transportation, Housing, and Urban Development, and Related

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 1   Agencies approved the 2017 Transportation, Housing, and Urban Development funding bill which

 2   included an amendment of the FAAAA that would preempt state rest and meal break laws

 3   retroactive to 1994. Congress recently combined the THUD FAAAA amendment as Section 134

 4   H.R. 5394, which is an omnibus federal budget bill to fund the federal government through most of

 5   2017.

 6           30.      Congress will vote on H.R. 5394 as soon as 2018. The trucking industry has

 7   indicated that this is their top legislative agenda item for the coming year.6 The legislation currently

 8   pending in Congress covers the time period at issue in this case because it will retroactively clarify

 9   that the 1994 Federal Aviation Authorization Act was intended to nullify state laws those in the

10   present action, and, if passed, would retroactively preempt all claims at issue in this case. 7 Senator

11   Barbara Boxer, who retired in January 2017, spearheaded the effort to deny the inclusion of

12   retroactive preemption in the prior reconciled FAA bill.8

13           31.      However, given the legislative agenda of the new Trump administration and its

14   stated objective to eliminate regulations on business, House Republicans and Republican Senators

15   will continue their efforts to pass retroactive preemption in the coming year(s). This risk has

16   significantly increased since after the settlement due to the recent election which put Republicans

17   in majority control of Congress, and the Presidency is in the hands of a Republican as well.

18   Accordingly, even if Plaintiffs were to prevail on class certification and summary judgment or at

19   trial, there is still a significant risk that the putative Class members would be precluded from any

20   recovery on these grounds.

21           32.      Lastly, Defendant argued that to the extent Plaintiffs seek to represent drivers

22   represented by the Teamsters, their claims are governed by the Teamsters CBA and are preempted

23

24
     6
       See, http://www.ccjdigital.com/to-protect-carriers-from-big-payouts-congress-may-stamp-out-state-efforts-to-reform-
25   driver-pay/ (“Major proponents include the American Trucking Association and the Western States Trucking Association,
     both of whom have said legislation to assert federal authority over break and pay laws for truckers is a top-level agenda
26   item in the coming years. “This actually is our No. 1 priority,” says Western States’ head of government affairs Joe
     Rajkovacz.”).
     7
27     See, https://www.congress.gov/amendment/114th-congress/house-amendment/794/text
     8
       http://thehill.com/policy/transportation/270740-dem-senator-slams-trucking-poison-pill-in-faa-bill
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 1   by Section 301 of the Labor-Management Relations Act of 1947 (“LMRA”), 29 U.S.C. §185.

 2   Section 301(a) authorizes federal courts to hear “[s]uits for violation of contracts between an

 3   employer and a labor organization representing employees in an industry affecting commerce.” The

 4   Supreme Court has constructed that provision not merely as a grant of jurisdiction but as a

 5   “mandate to the federal courts to fashion a body of federal common law to be used to address

 6   disputes arising out of labor contracts.” Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 209 (1985).

 7   Moreover, the Court has held that Section 301 has a “preemptive force” that is “so powerful as to

 8   displace entirely any state cause of action for violation of contracts between an employer and a

 9   labor organization.” Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1, 23 (1983).

10           Class Certification Defense

11           33.     Defendant contends that Plaintiffs will likely be unable to certify the class they

12   seek to represent. Specifically, Defendant states that there would be conspicuous adequacy and

13   typicality problems with respect to plaintiffs’ attempt to represent the interests of Teamsters-

14   represented putative class members. Moreover, there is no overlap between the union and non-

15   union work statement, work locations, and supervisions. In addition, recordkeeping practices for

16   the union represented and non-union drivers differ, mostly notably with respect to the Local

17   Drivers, who are paid for miles only occasionally. Because of the numerous differences between

18   the union and non-union populations, Defendant is confident that Plaintiffs will not be able to

19   certify a class that includes the union-represented drivers.

20           Double Damages and Prejudgment Interest

21           34.     Defendant contends that a plaintiff is only entitled to double damages in a wage

22   withholding case if there is no bona fide dispute over the employee’s entitlement to wages. See

23   Ruhl v. ProjectCorps, LLC, 192 Wn. App. 1041 (2016); Moore v. Blue Frog Mobile, Inc., 153 Wn.

24   App. 1, 9 (2009). Here, Plaintiffs rely on Demetrio which did not address the application of WAC

25   296-126-092(4), which is at issue for double damages. Even if Demetrio or Helde is deemed to

26   have settled Washington law with respect to liability in this case, foreclosing the possibility of a
27   bona fide dispute over the drivers’ entitlement to separate payment for rest periods, they did so

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 1   prospectively. Thus, Plaintiffs would only have a claim for double damages that starts April 26,

 2   2016 (when Helde was decided), nearly two years into the Class Period. Even if the Court in this

 3   case deemed the issue settled by Demetrio, that was case was not decided until July 16, 2015, 14

 4   months into the Class Period.

 5             35.      Defendant also argued that Plaintiffs cannot recover both prejudgment interest and

 6   double damages. Hill v. Garda CL Nw., Inc., 198 Wn. App. 326, 366 (2017) (“[T]he trial court

 7   erred by awarding prejudgment interest when the Plaintiffs had recover double damages under

 8   RCW 49.52.070.”). Indeed, it may be that Plaintiffs will not be able to recover prejudgment interest

 9   merely because they have sought double damages. See id. at 365 n.42 (“Arguably… an award of

10   prejudgment interest is inappropriate when a plaintiffs seeks[] an award of double damages under

11   the statute, regardless of whether the court in fact awards double damages.”).

12   IV.      FAIRNESS, ADEQUACY, AND REASONABLENESS OF SETTLEMENT

13             36.      Given my experience as an employment and wage and hour litigator, and based on

14   my own investigation and evaluation and consultation with my co-counsel, I believe the proposed

15   Settlement addresses all the allegations of violations of Washington state law by Defendant, and

16   provides adequate monetary relief to Plaintiffs and Class Members. The estimated 126 Class

17   Members will enjoy substantial monetary relief from the approximately $189,375.50 Net

18   Settlement Amount that will be available for distribution, amounting to an average recovery per

19   class member of nearly $1,502.989 In my experience, both amounts are substantial recoveries for

20   class members in a class action involving wage and hour claims, and in particular rest break claims.

21   Furthermore, the average estimated recovery per Class Member compares favorably with other

22   settlement similar cases. In a similar case, Dale McMakin, Jr. v. Domino’s Pizza LLC, King County

23   Superior Court Case No. 16-2-20655-7 KNT, the Honorable Richard McDermott granted final

24   approval to a settlement on behalf of a class of 45 truck drivers with similar claims on June 2, 2017

25   where the average settlement payment per Class Member was $1,481.83 and the highest estimated

26   settlement payment was $3,156.49. Additionally, in Aaron Lindholm v. Tate Transportation, Inc.,
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     9
         $189,375.50 Net Settlement Amount / 126 Class Members = $1,468.25.
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 1   Walla Walla County Superior Court Case No. 17-2-00013-3, the Honorable John W. Lohrmann

 2   granted final approval to a settlement on behalf of a class of 73 truck drivers with similar claims on

 3   June 29, 2017 where the average settlement payment per Class Member was $547.95 and the

 4   highest estimated settlement payment was $1,342.98. Lastly, in Steven Eilerman v. McLane

 5   Company, Inc. dba McLane/Northwest, United States District Court, Western District of

 6   Washington at Tacoma Case No. 3:16-CV-05303-BHS, the Honorable Benjamin H. Settle granted

 7   final approval to a settlement on behalf of a class of 251 truck drivers with similar claims on May

 8   17, 2017 where the average settlement payment per Class Member was $1,914.53 and the highest

 9   estimated settlement payment was $4,659.54.

10              37.     In light of the maximum recoverable damages of $391,838.63 for unpaid rest

11   breaks minus doubles damages and interest, I believe that this settlement is an excellent result. The

12   Gross Settlement Amount represents approximately 78% of Class Counsel’s estimate of the full

13   value of the class’ potential recovery on the claims for unpaid rest breaks excluding double

14   damages and interest.10 Although the Gross Settlement Amount is only 34.5% of the maximum

15   total damages of $885,555.3011 (including $493,716.67 in double damages and interest) if Plaintiffs

16   were to prevail on the issues of federal preemption, class certification, all liability determinations,

17   and the disputed issue regarding the liability for double damages and prejudgment interest, I

18   believe that the very significant risks in those determinations warrant a discount of that degree from

19   the maximum possible recovery in an “everything goes right” scenario. Significantly, the issue of

20   retroactive federal preemption could render Plaintiffs claims worthless.

21              38.     Considering the significant risks if Plaintiffs had to continue with the litigation, it is

22   my professional opinion, based on my experience, that the Settlement is fair, reasonable, and

23   adequate in light of all known facts and circumstances, including the risks posed by the defenses

24   asserted by Defendant on the merits, the uncertainties regarding class certification, and issues

25   concerning the amount of damages that might be recovered, as well as the potential danger that

26
27   10
          $305,834 Gross Settlement Amount / $391,838.63 in exposure excluding double damages and interest = 78%
     11
          $305,834 Gross Settlement Amount / $885,555.30 maximum exposure = 34.5%
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 1   Congress may pass a bill retroactively preempting Washington state law application to truck drivers

 2   rendering Plaintiffs’ claims worthless.

 3    V.    PROPOSED ENHANCEMENT FEE AWARDS

 4           39.     The proposed Enhancement Awards of $7,500 to each of the Named Plaintiffs

 5   ($15,000 total) are fair and reasonable. Plaintiffs were instrumental in prosecuting this lawsuit and

 6   were an important source of information during this litigation. Plaintiffs provided invaluable

 7   assistance to Class Counsel and the Class in this case, including providing factual background for

 8   the proposed mediation and the Complaint; participating in phone calls to discuss litigation and

 9   settlement strategy; providing relevant documents; and reviewing the settlement documents.

10   Plaintiffs agreed to participate in this case with no guarantee of personal benefit. Further, Plaintiffs

11   agreed to undertake the financial risk of serving as Class Representatives and exposed themselves

12   to the risk of negative publicity by anyone who opposed this case. Moreover, the requested $7,500

13   Incentive Payments for each of the Named Plaintiffs fall within the range of incentive payments

14   typically awarded to Class Representatives in similar class actions. Defendant does not oppose

15   payment of $7,500 to each of the named Plaintiffs as service awards. The $7,500 Class

16   Representative Service Award to each of the Plaintiffs compare favorably with other Class

17   Representative Service Awards granted final approval. See, e.g. Pelletz v. Weyerhaeuser Co., 592

18   F. Supp. 2d 1322, 2009 U.S. Dist. LEXIS 1803 (W.D. Wash. 2009) (payment of a $7,500 incentive

19   payment to each of the names plaintiff was approved); Hughes v. Microsoft Corp., C98-1646C, 93-

20   0178C, 2001 U.S. Dist. LEXIS 5976, 2001 WL 34089697, at *12-*13 (approving incentive awards

21   of $ 7,500, $ 25,000, and $ 40,000).

22   VI.    ATTORNEYS’ FEES AND COSTS

23           40.     Plaintiffs’ Counsel seek an attorneys’ fees award of $76,458.50, or 25% of the

24   common fund created by the settlement in this case, as provided for in the Settlement Agreement.

25   That entire settlement fund is non-reversionary and will be paid out. Defendant does not oppose

26   Plaintiffs’ Counsel request of $76,458.50 as an attorneys’ fee award.
27           Contingent Risk of Case

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 1           41.     Class Counsel took this case on a contingency fee basis. Plaintiffs or class members

 2   were not obligated to us for any fees, and we advanced all the costs of litigation. Recovery of costs

 3   or fees was entirely contingent on a successful outcome to the case. The amount of uncompensated

 4   time expended was substantial, and Class counsel’s significant financial outlays would have been

 5   entirely lost if the case were not won.

 6           42.     Like most complex employment class actions, in this case some of the risks could

 7   be assessed at the outset of the case, but others could not be anticipated and developed over the

 8   course of the litigation. Such unpredictable factors include, of course, the possibilities of changes

 9   or developments in the law, and actions by defendants or defense counsel. In this case, a

10   particularly risk-enhancing factor was that Congress is again considering a law retroactively

11   preempting Washington state’s rest break law applicable to Class Members, which would render

12   this case worthless.

13           43.     The outcome of litigation is inherently uncertain, and the process is typically slow.

14   Thus, even if Plaintiffs to prevail in this case on motions, or at trial, appellate risk and delay could

15   further jeopardize the chance of meaningful recovery for the class. My firm is involved in several

16   cases – both state and federal courts - in which recovery has been delayed for years; and we have

17   also litigated cases where the class obtains nominal or no recovery despite, in my professional

18   opinion, having meritorious claims. In several other cases, even though our clients prevailed they

19   and we recovered much reduced damages and fees, either because of the employer’s financial

20   limitations or its insolvency. These factors all had to be considered in our decision to accept the

21   settlement in this case.

22           Application of Standard Measures of Reasonable Fees

23           44.     In my professional experience, common fund recoveries are a frequently used basis

24   for awarding successful plaintiffs’ attorneys their fees in wage and hour class actions in federal

25   courts. My understanding is that the courts’ bases for favoring common-fund awards include (1)

26   fairly compensating the attorneys based on the benefits brought to the class; (2) providing an
27   incentive for counsel to efficiently litigate cases, rather than spend excessive hours to prolong

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 1   litigation and justify a higher lodestar; (3) provide incentive for settlement, which is particularly

 2   preferred in class actions; (4) equitably spreading the attorneys’ fees among class members who

 3   benefit from their work, at a rate that closely mirrors percentages paid on individual contingency

 4   fees cases; and (5) relieving some of the workload on an overtaxed judicial system while still

 5   providing fairness to the class through judicial oversight of class settlements.

 6           45.     My firm has obtained fees in the range from 30% to 1/3 of the common fund in

 7   numerous piece-rate class actions involving truck drivers and farm workers. On November 12,

 8   2015, in the case of Gonzalez v. SAIA Motor Freight Line LLC, San Bernardino Case No.,

 9   CIVDS1503144, the Honorable Judge Wilfred J. Schneider in Department S32 finally approved a

10   class action settlement for truck drivers that included attorneys’ fees at 1/3 of the total settlement

11   amount. Similarly, on July 30, 2014, in the case of Anderson v. Andrus Transportation Services,

12   Case No. CIV DS 915878 (San Bernardino Superior Court), the Honorable Judge Brian McCarville

13   granted final approval to a settlement of a class of truck drivers challenging a piece-rate

14   compensation system with claims for inter alia meal and rest breaks, and unpaid wages for rest

15   breaks, as in the instant case where the fees awarded amounted to 1/3 of the total settlement fund.

16   Furthermore, an attorneys’ fee request in the amount of 25% of the Gross Settlement Amount is fair

17   and reasonable considering the Honorable Benjamin Settle in the case of Eilerman v. McLane

18   Company, Inc., Case No. 3:16-CV-053-3-BHS (W.D. Wash. May 17, 2017), Docket No. 57 (Order

19   Granting Final Approval of Class Action Settlement), where the Court awarded attorneys’ fees to

20   Plaintiff’s counsel in the amount of 30% of the common fund in a trucker piece rate class action for

21   unpaid rest breaks nearly identical to the instant case.

22           Overall Opinion of Reasonableness of Requested Fees

23           46.     In light of the substantial recovery made for the class, reflecting the expertise of

24   class counsel both generally and in light of the particular challenge of this case in particular, the

25   efficiency and skill with which class counsel litigated this case, the risk incurred, and time and cost

26   expended, it is my professional opinion that the requested fee award is also fair to the class.
27           Recovery of Litigation Costs

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                                                           22
              DECLARATION OF CRAIG J. ACKERMANN IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY
                             APPROVAL OF CLASS ACTION SETTLEMENT - CASE NO.: 2:17-CV-0196-TOR
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 1              47.    Plaintiff’s request for out-of-pocket litigation costs and expenses of no more than

 2   $10,000 is also fair and reasonable. Plaintiffs’ Counsel have reasonably incurred costs while

 3   litigating this case and will continue to incur additional costs throughout the settlement approval

 4   process.

 5 VII.     SETTLEMENT ADMINISTRATOR

 6              48.    The parties propose that the Court appoint Rust Consulting, Inc. to serve as the

 7   settlement Administrator. Rust Consulting, Inc. is experienced in administering class action

 8   settlements, and has estimated its fees for this settlement, not to exceed $15,000.

 9          I declare under penalty of perjury under the laws of the United States and the State of

10   California that the foregoing is true and correct.

11              Executed on this 9th day of February 2018, in Los Angeles, California.

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14                                                    By:     _________________________
                                                              Craig Ackermann
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                                                            23
                DECLARATION OF CRAIG J. ACKERMANN IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY
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              EXHIBIT 1
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                                 SETTLEMENT AGREEMENT

         Subject to the approval of the United States District Court for the Eastern District of

Washington, Plaintiffs Christopher A. Santamour and John Kelly Peightal, on behalf of

themselves and all Class Members, as defined herein, and Defendant UPS Ground Freight, Inc.,

agree to the terms of this settlement agreement and release (the “Settlement”).


I.       DEFINITIONS

         For the purposes of the Settlement, words or phrases that are presented in initial capital

letters (e.g., Class Member) are defined as follows:

         1.     “Action” shall mean SANTAMOUR v. UPS GROUND FREIGHT, INC., pending

in the United States District Court for the Eastern District of Washington as Case No. 2:17-CV-

00196-TOR. The Action was filed on May 12, 2017, in Spokane County Superior Court

(Spokane County Superior Court Case No. 17-2-01766-8), and was removed to the United States

District Court for the Eastern District of Washington on June 5, 2017.

         2.     “Check Cashing Period” shall mean the 90-day period commencing the date on

which the Settlement Proceeds are mailed to Participating Class Members. After the 90-day

Check Cashing Period, any uncashed proceeds shall be dispersed as set forth in paragraph 43,

below.

         3.     “Class Counsel” shall mean Craig Ackermann and Ackermann & Tilajef, P.C. and

India Lin Bodien, Attorney at Law.

         4.     “Class Member” shall mean any individual who is a member of the Settlement

Class.

         5.     “Class Representatives” and “Plaintiffs” shall mean Christopher A. Santamour

and John Kelly Peightal—the individuals identified as named Plaintiffs in the Complaint.



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         6.     “Class Period” shall mean the period from May 12, 2014 through February 3,

2018.

         7.     “Court” shall mean the U.S. District Court for the Eastern District of

Washington.


         8.    “Defendant,” “UPS Freight” or the “Company” shall mean UPS Ground Freight,

Inc.

         9.     “Fairness Hearing” shall mean the Court hearing to consider any objections to,
and the motion for final approval of, the Settlement.

         10.   “Final Judgment” shall mean the order granting final approval of the class action

settlement entered by the Court.

         11.   “Gross Settlement Amount” shall mean the all-inclusive settlement amount of

$305,834.00 that Defendant will be obligated to pay in connection with the Settlement. From the

Gross Settlement Amount will be deducted all costs associated with the Settlement, including:

Plaintiffs’ Class Representative Payments; Class Counsels’ attorneys’ fees and expenses

(including all attorneys’ fees and expenses incurred to date and to be incurred in documenting

the Settlement, securing trial and appellate court approval of the Settlement, attending to the

administration of the Settlement, and obtaining a dismissal of the Action); and the Settlement

Administrator’s fees and expenses. The amount remaining in the Gross Settlement Amount after

all applicable deductions shall be referred to as the “Settlement Proceeds.” All Individual

Settlement Payments, plus both employee and employer shares of payroll taxes associated with

Individual Settlement Payments, will be paid from the Settlement Proceeds. Upon the occurrence

of the Settlement Effective Date, the Gross Settlement Amount will be paid by Defendant in

accordance with the terms of this Settlement. There shall be no reversion of funds from the

Gross Settlement Amount to Defendant.

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         12.   “Individual Settlement Payment” shall mean the Settlement Proceeds allocated to

an individual Participating Class Member. Individual Settlement Payment amounts will be

determined based on the Participating Class Member’s Proportionate Share of the Settlement

Proceeds and shall be subject to employer and employee payroll tax deductions, as detailed in

paragraph 41, below.

         13.   “Mileage Pay” shall mean compensation paid to truck drivers on a per-mile basis,

as distinguished from, for example, hourly, task-based, or “accessorial” pay. Mileage Pay

includes both single-driver Mileage Pay (“FDMP”) and team-driver Mileage Pay (“SLMP”).
SLMP includes compensation for sleeper berth time, and “Adjusted SLMP” deletes sleeper berth

time.

         14.   “Notice” shall mean the Notice of Class Action Settlement, attached hereto as

Exhibit A, which (subject to Court approval) the Settlement Administrator will mail to each

Class Member.

         15.   “Participating Class Members” shall mean all Class Members other than those

who timely and properly elect not to participate in the Settlement by submitting a written and

valid Request for Exclusion.

         16.   “Parties” shall mean Plaintiffs and Defendant, and “Party” shall mean any one of

the Parties.

         17.   “Proportionate Share” shall mean each Class Member’s proportionate share of the

Settlement Proceeds (before employer and employee payroll taxes), calculated as a percentage,

as described in greater detail in paragraph 41, below.

         18.   “Request for Exclusion” refers to the process by which a Class Member must

timely and properly submit a written notice to the Settlement Administrator to exclude himself or



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herself from the Settlement, as well as to prevent the release of his/her claims raised in this

Action.

          19.   “Settlement” shall mean this settlement agreement between the Parties, which,

with Court approval, is intended to provide the terms relevant to the resolution of the Action with

regard to all Participating Class Members.

          20.   “Settlement Administrator” shall mean Rust Consulting, whom the Parties have

selected to perform the duties set forth in this Settlement, subject to the Court’s approval.

          21.   “Settlement Class” shall mean all individuals who, during the Class Period,
(a) resided in Washington State, (b) were employed by UPS Ground Freight, Inc., in the position

of truck driver or any similar positions, (c) drove at least one route of three or more hours within

Washington State, and (d) were paid on a “per-mile” basis by means of Mileage Pay. As of

November 2017, the proposed Settlement Class had approximately 126 members.

          22.   “Settlement Effective Date” shall mean the date immediately after the first date by

which all of the following have occurred: (a) the Court has granted final approval of the

Settlement and entered Final Judgment consistent with its terms; and (b) (i) the deadline for

seeking appellate review of the Final Judgment has passed without a timely appeal or a request

for review having been made, or (ii) in the event of an appeal or request for review, the last

appellate court to consider the case has rendered a final decision dismissing the appeal and

affirming the Final Approval of the Settlement and Final Judgment without material

modification, and the applicable deadline for seeking further appellate review has passed.

          23.   “Settlement Proceeds” shall have the meaning described in “Gross Settlement

Amount,” above.




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         24.   “Share Form” is the form attached to the Notice, which states the recipient’s

Proportionate Share of the estimated Settlement Proceeds and describes the process by which

Class Members can challenge their Proportionate Share.


II.       RECITALS

         25.   On May 12, 2017, Plaintiffs commenced the Action on behalf of themselves and

all others allegedly similarly situated with respect to the claims asserted.

         26.   Soon after, the Parties, through their attorneys, engaged in informal discussions
regarding the matter.

         27.   In June 2017, the parties agreed to engage in settlement discussions and to attend

a private mediation. The parties agreed to an informal exchange of information to facilitate

mediation.

         28.   On August 16, 2017, the parties filed a Joint Status Report and Discovery Plan

that informed the Court that the Parties had agreed to a private mediation to take place on

November 9, 2017, and suggested postponing case deadlines until after the mediation.

         29.   Prior to the mediation, Plaintiffs requested and Defendant provided extensive

documents and data bearing on the putative class claims, including personnel files, wage

statements, driver logs, pay charts, lists of putative class members, Mileage Pay data, driver and

employee manuals, and collective bargaining agreements.

         30.   On November 9, 2017, the Parties engaged in a full-day, private, arm’s-length

mediation, in San Francisco, California before mediator David A. Rotman. Mr. Rotman is an

experienced class action mediator with extensive knowledge of wage and hour laws. At the

mediation, the Parties agreed to settle the Action and signed a Memorandum of Understanding

(“MOU”) that reflected that agreement and provided for the preparation of a formal settlement


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agreement. This Settlement formalizes the Parties’ agreements and supersedes the MOU, which

upon execution of this Settlement is void and shall have no further effect.

          31.   Defendant denies any liability or wrongdoing of any kind associated with the

claims alleged and contends that, for any purpose other than this Settlement, the Action is not

appropriate for class treatment under Washington CR 23, Rule 23 of the Federal Rules of Civil

Procedure, or otherwise. The Parties agree, however, that it is appropriate to certify the class for

purposes of this Settlement only.

          32.   Class Counsel represent that they have conducted a thorough investigation into
the facts of this Action and have diligently pursued an investigation of the Class Members’

claims against Defendant, including engaging in pre-mediation investigation, reviewing

substantial data and documents, and researching the applicable law and potential defenses.

Based on their own independent investigation and evaluation, Class Counsel are of the opinion

that the Settlement is fair, reasonable and adequate and is in the best interests of Class Members

in light of all known facts and circumstances, including the risk of protracted litigation, the risk

that the Court would not certify a class action, and Defendant's defenses and potential appellate

issues.

          33.   Defendant agrees that the Settlement is fair, reasonable and adequate under the

circumstances, taking into account litigation risks and costs of defense.

          34.   This Settlement represents a compromise of materially disputed claims. Nothing

in this Settlement is intended or will be construed as an admission by Defendant that Plaintiffs’

claims in the Action have merit or that Defendant has any liability to Plaintiffs or the Class

Members on those claims.




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          35.   The entry of Final Judgment in this action shall dismiss with prejudice all claims

set forth in the Action, provided that it will also state that the Court retains jurisdiction to enforce

the terms of the Settlement.


III.      TERMS OF SETTLEMENT

          36.   The Parties agree that, solely for the purpose of implementing the terms of this

Settlement, the Court should certify the Settlement Class, should appoint Plaintiffs as Class

Representatives for the Settlement Class, should appoint Plaintiffs’ counsel as Class Counsel for

the Settlement Class, and should appoint a Settlement Administrator to administer the Notice and
distribution of the Gross Settlement Amount.

          37.   Gross Settlement Amount: As consideration for the releases described in

Section VI, below, dismissal of the Action with prejudice, and the other terms and conditions of

this Settlement, Defendant will transfer the Gross Settlement Amount of Three Hundred and Five

Thousand Eight Hundred and Thirty-Four Dollars ($305,834.00) to the Settlement Administrator

within fourteen (14) calendar days following the Settlement Effective Date. At the same time,

Defendant shall provide the Settlement Administrator with Social Security Numbers for all

Participating Class Members. The Gross Settlement Amount shall be “all inclusive,” meaning

that all Class Counsel attorneys’ fees and costs, all Class Representative Payments, all

Settlement Administrator fees and expenses, and all Settlement Proceeds (including all

Individual Settlement Payments and all of both Defendant’s and Participating Class Members’

shares of payroll taxes on the Individual Settlement Payments) shall be distributed from the

Gross Settlement Amount. Notwithstanding any other provision of this Settlement, in no event

shall Defendant be obligated to pay more than $305,834.00 in total for the settlement of the

Action.




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         38.    Class Counsel’s Attorneys’ Fees and Costs: Defendant will not oppose Class

Counsel’s request to the Court for approval of an award of attorneys’ fees in an amount that does

not exceed twenty-five percent (25%) of the Gross Settlement Amount, plus up to $10,000.00 in

litigation costs, to be paid by the Settlement Administrator from the Gross Settlement Amount.

Class Counsel will provide the Settlement Administrator with their taxpayer ID numbers, and the

Settlement Administrator will issue Form 1099s with respect to any payments to Class Counsel

for attorneys’ fees and costs.

         39.    Class Representative Payments: Defendant will not oppose Plaintiffs’ application
to the Court for an award of Class Representative Payments not to exceed $7,500 each, or

$15,000 total for both Class Representatives, to be paid out of the Gross Settlement Amount, in

addition to their Individual Settlement Payments. The Settlement Administrator will issue to the

Class Representatives Form 1099s with respect to their Class Representative Payments.

         40.    Settlement Administrator Expenses: The Parties will ask the Court to approve

payment of all Settlement Administrator fees and expenses, not to exceed $15,000, from the

Gross Settlement Amount.

         41.    Settlement Proceeds: If the Court approves payment of Class Counsel attorneys’

fees and costs, Class Representative Payments, and Settlement Administrator fees and expenses

as described above, the Settlement Proceeds will equal $189,375.50. Distribution of the

Settlement Proceeds shall be made by the Settlement Administrator as follows:

                (a)    Each Participating Class Member will be entitled to his or her

         Proportionate Share of the Settlement Proceeds. Class Members who opt out of the

         Settlement will not receive any part of the Settlement Proceeds. Proportionate Shares

         shall be calculated based on the Participating Class Member’s combined FDMP and

         Adjusted SLMP during the Class Period as a percentage of all Participating Class


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         Members’ combined FDMP and Adjusted SLMP during the Class Period, as reflected in

         data provided to the Settlement Administrator by Defendant.


                 (b)    Seventy percent (70%) of each Individual Settlement Payment will be

         treated as wages for federal and state tax purposes, will be subject to all required

         employer and employee payroll taxes (both of which will be deducted from the

         Individual Settlement Payment amount), and will be reported on a Form W-2. The

         remaining thirty percent (30%) of each Individual Settlement Payment will be designated

         a non-wage payment in lieu of interest and any non-wage damages and will be reflected
         on a Form 1099. The W-2s and 1099s will be prepared by the Settlement Administrator,

         who will also be responsible for deducting and forwarding employer and employee

         payroll tax amounts on the Individual Settlement Payments to the relevant taxing

         authorities.

         42.     Settlement Payment Date: Within thirty (30) calendar days after the Settlement

Effective Date, the Settlement Administrator shall mail the Individual Settlement Payments (less

applicable deductions) to eligible Participating Class Members; make payment of Court

approved attorneys’ fees and costs to Class Counsel; and make payment of the Class

Representative Payments approved by the Court.

         43.     Checks Cashed Process: If any Participating Class Members do not cash their

Individual Settlement Payment checks within the 90-day Check Cashing Period, any amounts

associated with those uncashed checks will be sent by the Settlement Administrator to the State

of Washington with the associated name of the Class Member pursuant to Washington’s

Unclaimed Property Act (RCW 63.29, et seq.).




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IV.      NOTICE TO THE CLASS MEMBERS

         44.   Within thirty (30) calendar days after the Court’s entry of its order granting

preliminary approval of the Settlement, Defendant will provide the Settlement Administrator and

Class Counsel with the following information from its business records: the names and last

known addresses for each Class Member, plus Mileage Pay data needed to calculate each Class

Member’s Proportionate Share of Settlement Proceeds.         Class Counsel shall use the class list

for no other purpose than monitoring the Settlement.

         45.   The Settlement Administrator shall send the Notice, which includes the Share
Form, to the Class Members, in the form attached as Exhibit A, by first class mail within forty-

five (45) days after the Court grants preliminary approval of the Settlement.

         46.   The Settlement Administrator will use reasonable tracing to verify the accuracy of

the addresses before the initial mailing to ensure that the Notice is sent to Class Members at the

addresses most likely to result in prompt receipt. It will be conclusively presumed that if an

envelope so mailed has not been returned within thirty (30) days of the mailing that the Class

Member received the Notice. With respect to envelopes returned as undeliverable, the

Settlement Administrator will use reasonable diligence to obtain a current address and re-mail

the envelope to such address. Defendant will provide the Settlement Administrator with

additional information from its records, as needed, to facilitate this effort.

         47.   Class Counsel shall provide the Court, at least seven (7) business days prior to the

Fairness Hearing, a declaration by the Settlement Administrator specifying the due diligence it

has undertaken with regard to the mailing of the Notice.


V.       PROCESS FOLLOWING CLASS NOTICE DISSEMINATION

         48.   The Share Forms distributed to Class Members will list the recipient’s estimated

Proportionate Share, as calculated by the Settlement Administrator assuming 100% Class

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Member participation in the Settlement. In the event of a dispute regarding a Class Member’s

Proportionate Share, Defendant’s records will be presumed to be correct, but that presumption

may be rebutted by the Class Member’s documentary showing. The Settlement Administrator

will resolve all such disputes, and the Settlement Administrator’s resolution will be binding on

the Parties.

         49.   Class Members shall have forty-five (45) calendar days from the mailing of the

Notice to submit a written Request for Exclusion, to challenge their Proportionate Share, and/or

file an objection to the Settlement with the Settlement Administrator. In the event of an
objection, the Settlement Administrator will serve the Objections on Class Counsel and counsel

for Defendants within five (5) business days. A Class Member who has submitted a valid

written Request for Exclusion shall have no standing to object to the Settlement and will not be

entitled to be heard at the Final Approval Hearing.

         50.   In order to elect not to participate in the Settlement (i.e., opt out), a Class Member

must sign and return a written Request for Exclusion, postmarked within forty-five (45) calendar

days from the mailing of the Notice. No Request for Exclusion form will be honored if

postmarked after this deadline. To be valid, the Request for Exclusion must be written and

contain the following: the Class Member’s name, address, and signature, and the statement “I

wish to be excluded from the Settlement in the case of Santamour v. UPS Ground Freight, Inc.”

         51.   All challenges to the Proportionate Share calculations and Requests for Exclusion

shall be sent directly to the Settlement Administrator at the address indicated on the Notice.

         52.   Within fifty-nine (59) calendar days after the mailing of the Notice (fourteen (14)

calendar days after the deadline for submission), the Settlement Administrator will certify jointly

to Class Counsel and Defendant’s counsel how many written Requests for Exclusions were




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timely or untimely submitted. The Settlement Administrator will also provide a summary of the

challenges to Proportionate Shares and its resolution of those challenges.

         53.   The Settlement Administrator will timely notify claimants whose objections or

Request for Exclusion were untimely or denied for other reasons.

         54.   Any Class Member who does not timely submit a valid Request for Exclusion

will be bound by the release of claims set forth in Section VI, paragraph 58, of this Settlement,

and will receive an Individual Settlement Payment. Any Class Member who timely submits a

valid Request for Exclusion will not be bound by the release of claims set forth in Section VI,
paragraph 58, and will not receive an Individual Settlement Payment.

         55.   Participating Class Members shall have a period of ninety (90) calendar days after

the mailing by the Settlement Administrator to cash or deposit their Individual Settlement

Payment checks. If a Participating Class Member fails to cash or deposit his or her check within

this Check Cashing Period, the Settlement Administrator will cancel the check, and distribute the

funds pursuant to Washington's Unclaimed Property Act (RCW 63.29, et seq.) as set forth in

Paragraph 43, herein.

         56.   The Settlement Administrator shall be responsible for distributing the payments

pursuant to this Settlement. The Settlement Administrator will submit to Class Counsel for filing

with the Court proof of all payments made from the Gross Settlement Amount, and will serve all

counsel with a copy of the same, within sixty (60) days following the Settlement Effective Date.


VI.      RELEASES


         57.   Released Claims by Class Representatives: In consideration of their awarded

Class Representative Payments and the other terms and conditions of the Settlement, and

understanding that there is a bona fide dispute regarding wages they may be owed, among other


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things, Plaintiffs irrevocably release and discharge Defendant and its former and current parents,

subsidiaries, and affiliated corporations, and their respective officers, directors, employees,

partners, shareholders, agents, insurers, employee benefit plans, and any other successors,

assigns, or legal representatives (“Released Parties”), from all known and unknown claims,

promises, causes of action, or similar rights of any type that they presently may have with respect

to any Released Party (“Released Claims.”) The Released Claims might arise under different

foreign, domestic, national, state, or local laws (including statutes, regulations, other

administrative guidance, and common law doctrines), such as federal and state anti-
discrimination statutes, and other laws such as those providing recourse for alleged wrongful

discharge, tort, personal injury, emotional distress, fraud, negligence, defamation, and similar or

related claims, as well as those related to compensation, pay deductions, tax treatment of

earnings, wage disputes of any nature (including those pursuant to the Fair Labor Standards Act),

penalties, liquidated damages, punitive damages, attorneys’ fees, benefits, and family and

medical leave rights. Plaintiffs’ release includes, but is not limited to, all claims that were made,

or could have been made, against the Released Parties in the Action. This Release does not

release any claims that the law does not permit Plaintiffs to release. Plaintiffs agree to promptly

pay and to indemnify and hold the Released Parties harmless from and against any and all loss,

cost, damage or expense, including without limitation, attorneys’ fees, interest, assessments, and

penalties, arising out of any dispute over the tax treatment of any of the proceeds received by

Plaintiffs as a result of this Release.


         58.    Released Claims by Class Members: In consideration of their Individual

Settlement Payments and the other terms and conditions of the Settlement, and recognizing that

there is a bona fide dispute regarding wages owed, among other things, each Participating Class

Member (including the named Class Representatives ) will irrevocably release and discharge the

Released Parties from any and all claims raised in the Action, and all wage and hour claims

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arising from facts alleged in the Action, from May 12, 2014 through February 3, 2018, including

but not limited to claims for rest breaks or rest break compensation, liquidated damages flowing

from unpaid rest break compensation, and interest, whether founded on state, federal or local law

(including the Fair Labor Standards Act), including but not limited to claims under Industrial

Welfare Act (Chapter 49.12 RCW), WAC 296-126-092(4), and Chapter 49.52 RCW. This

Release does not release any claims that the law does not permit each Participating Class

Member to release. Each Participating Class Member is responsible for appropriately reporting

the proceeds received as a result of this Release on his/her taxes, and agrees to hold the Released
Parties harmless with respect to any dispute arising from or related to such reporting.


         59.   Additional Attorneys’ Fees Released by Class Counsel: In consideration for their

Court-approved attorneys’ fees and expenses, Class Counsel waives any and all claims to any

further attorneys’ fees or costs in connection with the Action.


VII.     CONFIDENTIALITY

         60.   Plaintiffs and Class Counsel agree that they will not issue any press releases,

initiate any contact with the press, respond to any press inquiry or have any communication with

the press about the Action, or the fact, amount or terms of the Settlement.

         61.   Plaintiffs and Class Counsel agree that they will not engage in any advertising or

distribute any marketing materials relating to the Settlement that identifies Defendant, including

but not limited to any postings on any websites maintained by Class Counsel. Class Counsel

shall be permitted to make reference to the Settlement, without identifying Defendant by name.

In connection with submitting declarations concerning adequacy in other cases, Class Counsel

may identify the case number, provide a description of the case and resolution, and confirm the

fact that they were approved as Class Counsel.



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         62.   Any communication about the Settlement to Class Members by Class Counsel or

Plaintiffs prior to the Court-approved mailing will be limited to a statement that a settlement has

been reached and the details will be communicated in a forthcoming Court-approved Notice.

         63.   Defendant shall have the right to rescind this Settlement, rendering it null and

void, if Plaintiffs or Class Counsel violate the obligations in this Section VII.


VIII. NO EFFECT ON OTHER BENEFITS

         64.   The Parties agree that the calculations made regarding the Settlement amounts
and the pro-ration of the same among the Class Members are for purposes of this Settlement only

and do not give rise to any other rights under any benefit plans or otherwise.

         65.   Payments under this Settlement shall not be considered compensation under any

of Defendant’s employee benefit plans.


IX.      DUTIES OF THE PARTIES PRIOR TO COURT APPROVAL

         66.   Cooperation: The Parties and their counsel agree to cooperate and take all steps

necessary and appropriate to obtain preliminary and final approval of this Settlement, to

effectuate its terms, and to dismiss the Action with prejudice. The Parties further agree that

neither they nor their counsel will solicit or otherwise encourage Class Members to object to or

request exclusion from the Settlement.

         67.   Fair, Reasonable and Adequate Settlement: The Parties agree that the Settlement

is fair, reasonable and adequate and will so represent to the Court.

         68.   Unopposed Motion for Preliminary Approval of Settlement: Class Counsel will

move the Court for an Order Granting Preliminary Approval of the Settlement and Notice in a

form to be approved by Defendant, which shall include the following elements:



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                (a)     Setting a date for a fairness hearing on the question whether the proposed

         Settlement should be finally approved as fair, reasonable and adequate as to the Class;

                (b)     Approving as to form, content and distribution of the proposed Notice;

                (c)     Directing the mailing of the Notice to the Class Members;

                (d)     Preliminarily approving the Settlement;

                (e)     Preliminarily certifying a class consisting of Plaintiffs and Class Members

         for purposes of Settlement only;

                (f)     Approving Craig Ackermann, India Bodien, and their respective law

         firms, as Class Counsel for Settlement only; and

                (g)     Approving Rust Consulting or another administrator agreed to by the

         Parties as the Settlement Administrator.


X.       DUTIES OF THE PARTIES FOLLOWING FINAL COURT APPROVAL

         69.    Following final approval of the Settlement by the Court, Class Counsel will

submit a proposed Final Judgment in a form approved by Defendant, which shall include the

following elements:

                (a)     Certifying a Settlement Class consisting of Plaintiffs and Participating

         Class Members for purposes of Settlement only;

                (b)     Approving the Settlement, adjudging the terms to be fair, reasonable and

         adequate, and directing consummation of its terms and provisions;

                (c)     Approving the Class Representative Payments to Plaintiffs;

                (d)     Approving the payment of attorneys’ fees and expenses to Class Counsel;

                (e)     Approving payment of the Settlement Administrator’s fees and expenses;


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                (f)   Approving distribution of the Settlement Proceeds among the Participating
         Class Members; and

                (g)      Dismissing the Action on the merits and with prejudice and permanently
         barring all Participating Class Members and Plaintiffs from prosecuting any and all
         Released Claims set forth above.

XI.      PARTIES’ AUTHORITY

         70.    The respective signatories to the Settlement represent that they are fully

authorized to enter into this Settlement and bind the respective Parties to its terms and

conditions.

XII.     MUTUAL FULL COOPERATION

         71.    The Parties agree to cooperate fully with each other to accomplish the terms of

this Settlement, including but not limited to, execution of such documents and to take such other

action as may reasonably be necessary to implement the terms of this Settlement. The Parties

shall use their best efforts, including all efforts contemplated by this Settlement and any other

efforts that may become necessary by order of the Court, or otherwise, to effectuate the terms of

this Settlement. As soon as practicable after execution of this Settlement, Class Counsel shall,

with the cooperation of Defendant and its counsel, take all steps necessary to secure the Court’s

Final Judgment.


XIII. NO PRIOR ASSIGNMENTS

         72.    The Parties represent, covenant, and warrant that they have not directly or

indirectly, assigned, transferred, encumbered, or purported to assign, transfer, or encumber to

any person or entity any portion of any liability, claim, demand, action, cause of action or right

released and discharged in this Settlement.




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XIV. NO ADMISSION

         73.    Nothing contained in this Settlement shall be construed or deemed an admission

of liability, culpability, negligence, or wrongdoing on the part of Defendant. Defendant denies

any such liability. Each of the Parties has entered into this Settlement with the intention to avoid

further disputes and litigation with the attendant inconvenience and expenses.

         74.    This Settlement is a settlement document and shall be inadmissible in evidence in

any proceeding, except an action or proceeding to approve, interpret, or enforce its terms.

XV.      ENFORCEMENT ACTIONS

         75.    In the event that one or more of the Parties institutes any legal action against any

other party or Parties to enforce the provisions of this Settlement or to declare rights and/or

obligations under this Settlement, the successful party or Parties shall be entitled to recover from

the unsuccessful party or Parties reasonable attorneys’ fees and costs, including expert witness

fees and costs incurred in connection with any enforcement actions.


XVI. NOTICES

         76.    Unless otherwise specifically provided, all notices, demands or other

communications shall be in writing and shall be deemed to have been duly given as of the fifth

(5th) business day after mailing by United States registered or certified mail, return receipt

requested, addressed as follows:

         To the Class:
         Craig Ackermann, Esq.
         Ackermann & Tilajef, P.C.
         1180 South Beverly Drive, Suite 610
         Los Angeles, California 90035

         India Lin Bodien, Esq.
         India Lin Bodien, Attorney at Law
         2522 North Proctor Street, #387

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         Tacoma, Washington 98406

         To Defendant:
         Charles N. Eberhardt, Esq.
         Perkins Coie LLP
         The PSE Building
         10885 NE Fourth Street, Suite 700
         Bellevue, Washington 98004-5579

XVII. VOIDING THE AGREEMENT

         77.    If this Settlement is not approved, or if the Court’s Final Judgment is materially

modified on appeal, then this Settlement will become null and void, no payment under this

Settlement will be made, and the Settlement shall not be used nor be admissible in any

subsequent proceeding either in this Court or in any other Court or forum, nor shall there be any

certification of the Settlement Class, as it is being requested here solely for the purposes of this

Settlement. If there is any reduction in the attorneys’ fee award and/or costs requested, such

reduction may be appealed as set forth below but is not a basis for rendering the Settlement

voidable and unenforceable.


XVIII. CONSTRUCTION

         78.    The Parties agree that the terms and conditions of this Settlement are the result of

intensive arm’s-length negotiations between the Parties and that this Settlement shall not be

construed in favor of or against any Party by reason of the extent to which any Party or his, her

or its counsel participated in the drafting of this Settlement.




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XIX. CAPTIONS AND INTERPRETATIONS

         79.   Paragraph titles or captions contained in this Settlement are a matter of

convenience and for reference, and in no way define, limit, extend, or describe the scope of this

Settlement or any provision. Each term of this Settlement is contractual and not merely a recital.


XX.      MODIFICATION

         80.   This Settlement may not be changed, altered, or modified, except in writing and

signed by the Parties, and approved by the Court.

XXI. INTEGRATION CLAUSE

         81.   This Settlement contains the entire agreement between the Parties, and, once it is

fully executed, all prior or contemporaneous agreements, understandings, representations, and

statements, whether oral or written and whether by a Party or such Party’s legal counsel, relating

to the resolution of the Action, are merged in this Settlement. No rights under this Settlement

may be waived except in writing.


XXII. BINDING ON ASSIGNS

         82.   This Settlement shall be binding upon and inure to the benefit of the Parties and

their respective heirs, trustees, executors, administrators, successors and assigns.


XXIII. CLASS COUNSEL SIGNATORIES

         83.   It is agreed that it is impossible or impractical to have each Class Member execute

this Settlement. The Notice will advise all Class Members of the binding nature of the release.

Excepting only the Class Members who timely submit a Request for Exclusion, the Notice shall

have the same force and effect as if this Settlement were executed by each Class Member with

regard to the Release of Claims recited in Section VI, paragraph 58.


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XXIV. COUNTERPARTS

         84.   This Settlement may be executed in counterparts, and when each Party has signed

and delivered at least one such counterpart, each counterpart shall be deemed an original, and,

when taken together with other signed counterparts, shall constitute one Settlement, which shall

be binding upon and effective as to all Parties.


XXV. RIGHT OF APPEAL

         85.   The Parties agree to waive all appeals from the Court’s Final Judgment of this
Settlement, unless the Court materially modifies the Settlement; provided, however, that

Plaintiffs may appeal any reduction in the requested amount of attorneys’ fees and/or costs, or

Class Representative Payments.


XXVI. CLASS CERTIFICATION

         86.   The Parties agree that the stipulation of class certification is for the purposes of

this Settlement only and if for any reason the Settlement is not approved, the Settlement will be

of no force or effect, the class will not be certified and no payment will be made. The Parties

agree that certification for settlement purposes is in no way an admission that class certification

is proper and that evidence of this stipulation for settlement purposes only will not be deemed

admissible in this or any other proceeding.


XXVII. RIGHT OF REVOCATION

         87.   In the event that ten percent (10%) of more of the Class Members request

exclusion from the Settlement, Defendant has the right to void the Settlement in its entirety by

providing written notice to Class Counsel prior to entry of Final Judgment.




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                  NOTICE OF CLASS ACTION SETTLEMENT
         THIS NOTICE MAY AFFECT YOUR RIGHTS PLEASE READ IT CAREFULLY

I.       WHY SHOULD I READ THIS NOTICE?

The purpose of this Notice is to inform you of the potential resolution of a class action lawsuit
that may affect you. The lawsuit is called SANTAMOUR v. UPS GROUND FREIGHT, INC. and
is pending in the United States District Court for the Eastern District of Washington as Case
No. 2:17-CV-00196-TOR (the “Action”).

The Action was filed by two former employees of UPS Ground Freight, Inc. (“UPS Freight”),
Chris Santamour and John Peightal (known as the “Plaintiffs”). They allege that UPS Freight
did not comply with Washington wage and hour law with respect to rest breaks. Specifically, the
Action contains two causes of action: (1) failure to pay per-mile drivers separate wages for time
spent on statutory rest periods; and (2) double damages flowing from the first cause of action.
UPS Freight denies all wrongdoing. UPS Freight maintains that it complied with applicable law
and that its employees have been fully paid all wages due. The Court has not expressed any
opinion as to the validity of the claims raised in this case.

The parties have agreed to settle the Action on behalf of a “Settlement Class” of current and
former employees who, at any time from May 12, 2014 through February 3, 2018 (the “Class
Period”): (1) resided in Washington State, (2) were employed by UPS Freight in the position of
truck driver or any similar position, (3) drove at least one route of three hours or more within
Washington State, and (4) were paid on a “per-mile” basis (also called “Mileage Pay”).

On ____________, 2018, the Court issued an order preliminarily approving the parties’
agreement (known as the “Settlement”), certifying the Action as a “class action” for settlement
purposes, and approving this Notice. You received this Notice because UPS Freight records
indicate that you are a member of the Settlement Class (also called a “Class Member”).

II.      WHAT WILL I RECEIVE FROM THE SETTLEMENT?

The following are aspects of the Settlement were preliminarily approved by the Court:

              •   UPS Freight will pay a Gross Settlement Amount of $305,834.00, to settle all
                  claims in the Action on behalf of Plaintiffs and the Settlement Class. This amount
                  shall be “all inclusive,” meaning that all attorneys’ fees and costs, settlement
                  administration expenses, and payments to Plaintiffs and Participating Class
                  Members (i.e., those members of the Settlement Class who do not submit a
                  request to be excluded from the Settlement), and associated payroll taxes, will be
                  paid from the Gross Settlement Amount.

              •   The parties have agreed that, subject to Court approval, the following payments
                  will be made from the Gross Settlement Amount:

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                             o Class Counsel will be paid up to 25% of the Gross Settlement
                               Amount for attorneys’ fees and will, in addition, be reimbursed up
                               $10,000 for litigation costs.

                             o Plaintiffs will each receive a service payment of up to $7,500 each
                               ($15,000 total).

                             o The Court-appointed Settlement Administrator will be reimbursed
                               for Settlement administration costs up to $15,000.

                             o The balance of the Gross Settlement Amount (the “Settlement
                               Proceeds”) will be allocated among Participating Class Members.

              •   The Settlement Proceeds (estimated to be $189,375.50) will be distributed to
                  Participating Class Members based on the formula discussed below.

              •   All Participating Class Members will release UPS Freight from any and all
                  liability for claims asserted in the Action as described in Section III.A., below.

              •   Participating Class Members will receive a Settlement payment. The amount of
                  each individual’s Settlement payment will be based on their “Proportionate
                  Share” of the Settlement Proceeds, which are calculated based on their Mileage
                  Pay (specifically, their combined FDMP and SLMP, adjusted for sleeper berth
                  time) during the Class Period as a percentage of all Participating Class Members’
                  Mileage Pay (combined FDMP and SLMP, adjusted for sleeper berth time) during
                  the Class Period. Information that will be used to calculate your Settlement
                  payment is set forth on the Share Form included with this Class Notice.

              •   Seventy percent (70%) of each individual Settlement payment will be treated as
                  wages, will be subject to all required employer and employee payroll taxes (both
                  of which will be deducted from the individual Settlement payment amount), and
                  will be reported on a Form W-2. The other thirty percent (30%) will be
                  designated as payment for interest and non-wage damages and reported on a Form
                  1099. Participating Class Members are encouraged to seek independent advice
                  regarding the tax consequences of their Settlement payment.

              •   No employee benefit shall increase or accrue as a result of any payment made in
                  connection with this Settlement.

III.     WHAT IS THE EFFECT OF THE SETTLEMENT?

         A.       Released Claims By Class Members

All Participating Class Members will irrevocably release and discharge UPS Freight and its
former and current parents, subsidiaries, and affiliated corporations, and their respective officers,
directors, employees, partners, shareholders, agents, insurers, employee benefit plans, and any
other successors, assigns, or legal representatives (“Released Parties”), from any and all claims
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raised in the Action, and all wage/hour claims arising from the facts alleged in the Action, from
May 12, 2014 through February 3, 2018, including, but not limited to, claims for rest breaks or
rest break compensation, liquidated damages flowing from unpaid rest break compensation, and
interest, whether founded on state, federal or local law (including the Fair Labor Standards Act),
including claims under the Industrial Welfare Act (Chapter 49.12 RCW), WAC 296-126-092(4),
and Chapter 49.52 RCW. This release of claims (the “Release”) will not release any claims that
the law does not permit each Participating Class Member to release. Each Participating Class
Member is responsible for appropriately reporting the proceeds received as a result of this
Settlement on his/her taxes, and agrees to hold the Released Parties harmless with respect to any
dispute or liability arising from or related to such reporting.

The Release will not apply to Class Members who timely submit a valid Request for Exclusion,
as described below. On the other hand, if you are a Class Member and do not elect to exclude
yourself through a valid and timely submitted written Request for Exclusion, you will be deemed
to have entered into and will be bound by this Release when the Settlement becomes effective,
even if you take no further action.

         B.    Payment To Participating Class Members.

If you qualify to receive payment under the Settlement, a check will be mailed to you within
approximately thirty (30) days after the “Settlement Effective Date,” defined as the first date by
which all of the following have occurred: (1) the Court has granted final approval of the
Settlement and had entered a final judgment consistent with its terms, and (2)(a) the deadline for
appealing the final approval of the Settlement and final judgment has passed and no appeal is
filed, or (b) if there is an appeal, all appeals are complete and the appellate courts have affirmed
the decision approving the Settlement and final judgment.

IV.      WHAT ARE MY RIGHTS?

         A.    You May Participate In The Settlement.

If you wish to participate in the Settlement, you do not need to do anything at this time. Please
update the Settlement Administrator if your address or phone number changes or will change.

         B.    You May Object To The Settlement, Or Any Part Of It.

To object, you must submit a written objection and notice of intention to appear at the Final
Approval Hearing to the Settlement Administrator at the below address, on or before
______________, 2018:



                                  Claims Administration Center
                                       c/o ____________
                                   [Settlement Administrator]
                                          [ADDRESS]

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 YOUR OBJECTION WILL BE FILED WITH THE COURT BY COUNSEL FOR THE
 PARTIES IN THIS CASE. IF THE COURT DENIES YOUR OBJECTION, YOU WILL
             BE BOUND BY THE TERMS OF THE SETTLEMENT

         C.     You May Challenge Your Mileage Pay Data.

If you dispute the information set forth in the Share Form, below, return the form with what you
contend is the correct information, along with your supporting documentation, to the Settlement
Administrator at the address above no later than _____________, 2018. Note: the reason why
sleeper berth mileage pay was excluded is that the parties agreed that drivers are not entitled to
rest breaks, or pay for rest breaks, while they are asleep.

         D.     You May Exclude Yourself From This Case.

If you wish to be excluded from the Settlement Class and from the Settlement (i.e., “opt-out”),
you must complete and mail a written Request for Exclusion to the Settlement Administrator.
Your Request for Exclusion must be postmarked no later than ___________, 2018. The Request
for Exclusion must contain your name, address signature, and the statement, “I wish to be
excluded from the settlement and the case of Santamour v. UPS Ground Freight, Inc.,” or words
to that effect.

If you timely request exclusion from the class, you will (1) be excluded from the Settlement
Class; (2) not be bound by any determination or judgment entered in the Action; (3) not be
bound by the Release; (4) not receive a Settlement payment or otherwise share in the Settlement
Proceeds; and (5) have the right to prosecute your own lawsuit, so long as it is not otherwise
barred for any reason.

V.       WHO REPRESENTS THE PROPOSED SETTLEMENT CLASS?

         A.     Class Representative.

Plaintiffs Christopher Santamour and John Kelly Peightal are former employees of UPS Freight,
who were employed as truck drivers by UPS Freight in Washington State, and are the “Class
Representatives.”

         B.     Class Counsel.

The Court has approved the following attorneys to be “Class Counsel” for the purpose of
representing the interests of the Settlement Class:

         Craig J. Ackermann, Esq.
         Ackermann & Tilajef, P.C.
         1180 South Beverly Drive, Suite 610
         Los Angeles, California 90035
         Telephone: (310) 277-0614
         cja@ackermanntilajef.com

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         India Lin Bodien, Esq.
         India Lin Bodien, Attorney at Law
         2522 North Proctor Street, #387
         Tacoma, Washington 98406
         Telephone: (253) 212-7913
         india@indialinbodienlaw.com

   You may contact Class Counsel or the Settlement Administrator should you have questions.
 PLEASE DO NOT ADDRESS ANY QUESTIONS TO THE COURT OR TO UPS FREIGHT.

VI.      WHAT FEES AND COSTS ARE INVOLVED?

         A.     Attorneys’ Fees, Costs and Expenses.

Class Counsel will continue to pay the costs of this litigation. Those costs will be reimbursed
from the Gross Settlement Amount as described elsewhere in these materials, subject to the
Court’s approval. Specifically, Class Counsel will ask the Court for an award of attorneys’ fees
not to exceed 25% of the Gross Settlement Amount, or $76,458.50, and an additional $10,000 in
litigation costs.

You are not individually responsible for any of those costs.

         B.     Class Representative Payment.

The Class Representatives will ask the Court to grant them a service payment of $7,500 each
($15,000 total) for their effort on behalf of the Settlement class. Granting of any service
payment is at the Court’s discretion.

VII.     WHAT MUST I DO NOW?

If you want to participate and receive a share of the Settlement, you do not need to do anything.
Please make sure to keep your contact information current by notifying the Settlement
Administrator of any changes. If you dispute your Mileage Pay earned during the Class Period
or any other information on your Share Form (attached at this Notice), please complete and
return the Share Form by the deadline noted.

                                               OR

If you do not want to participate in the Settlement, complete and mail a written Request for
Exclusion to the Settlement Administrator, postmarked no later than _______, 2018.

                                               OR

File an objection to the Settlement with the Settlement Administrator no later than
_______________, 2018.

      IF YOU DO NOTHING, YOU WILL BE BOUND BY THE RELEASE OF CLAIMS
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VIII. FINAL APPROVAL HEARING

              The Court has set the Final Approval Hearing as follows:

              Date:

              Time:

              Place:



  PLEASE DO NOT ADDRESS ANY QUESTIONS TO THE COURT OR TO UPS FREIGHT




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                                                SHARE FORM
                            Class Member Mileage Pay Earned and Estimated Settlement

          <<Claim Number>>                                        _______________________________________
          <<Name>>                                                _______________________________________
          <<Address>>                                             _______________________________________
          <<City>>, <<State>> <<Zip Code>>                        _______________________________________

UPS Ground Freight, Inc.’s (“UPS Freight”) records show that during the Class Period,1 you were paid the
following as a truck driver paid on a “per-mile” piece-rate basis:

                        COVERED PERIOD                                   YOUR EMPLOYMENT

                  5/12/2014 TO FEBRUARY 3, 2018                            ________ TO ________


              MILEAGE PAY EARNED DURING THE                  YOUR TOTAL MILEAGE PAY EARNED
              COVERED PERIOD (BOTH FDMP AND                  DURING THE CLASS PERIOD (MINUS
              SLMP MINUS ANY SLMP EARNED FOR                 MILEAGE PAY EARNED FOR SLEEPER
                    SLEEPER BERTH TIME)                      BERTH TIME) WAS: ________




BASED ON THIS MILEAGE PAY EARNED DURING THE COVERED PERIOD, YOUR ESTIMATED SHARE
OF THE SETTLEMENT PROCEEDS IS: ________PERCENT. THIS AMOUNT MAY BE HIGHER OR
LOWER BASED ON OPT-OUTS. IT IS ALSO SUBJECT TO REDUCTION FOR ALL EMPLOYER AND
EMPLOYEE PAYROLL TAXES ASSOCIATED WITH WAGE PAYMENT AMOUNTS.

                                               OPTION TO CHALLENGE
I wish to challenge the employment data listed above. I have included a written statement setting forth what I believe is the
actual Mileage Pay that I earned working for UPS Freight during the Covered Period. I recognize that my challenge will not
be reviewed without documentary evidence to support my claim. I understand that by submitting this challenge, I authorize
the Settlement Administrator to review Defendant’s records and make a determination based on those records and the records I
submit. I understand that this determination may increase or decrease the amount of my settlement share. I understand that
such determinations are final and binding with no opportunity for further appeal.



Dated: _______________                   Signed: ____________________________________




1
    The Class Period is May 12, 2014, through February 3, 2018.
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